                         Case 1:21-cr-00175-TJK Document 857-3 Filed 08/17/23 Page 1 of 7
  From: 619839226 SPAM TACOS

  Telegram is now banning channels!
  Attachments:




   Size: 0
   (Empty File)

                                                1/12/2021 9:57:23 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x2A035B2A (Size: 873086976 bytes)



  From: 538599100 Sean K
  Attachments:




   Size: 0
   (Empty File)

                                                1/12/2021 9:58:45 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B0791E (Size: 873086976 bytes)



                                                      From: 573782641 Rufio Panman (owner)

                                                      Guys who don’t rally creating rules for those who do. We will handle the optics and future
                                                      rallies, if we continue them or if not. It will not be the decision of those who have never set
                                                      foot on the ground.
                                                                                                                                               1/12/2021 9:58:46 PM(UTC+0)


                                                    Source Info:
                                                    e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
                                                    511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x2DB83583 (Size: 873086976 bytes)



  System Message System Message

                                                1/12/2021 9:59:01 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B0489D (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster

                                                1/12/2021 9:59:36 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B043DC (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster

  If they do lol, u won’t, shit is real now, people our going to go to jail and be charged with
  sedition, rally it up!
                                                                                           1/12/2021 10:01:11 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x30B01A01 (Size: 873086976 bytes)




                                                                                                                                                                                     358
                         Case 1:21-cr-00175-TJK Document 857-3 Filed 08/17/23 Page 2 of 7
  From: 745775515 Ben Hagen Cloutmaster

  Punching purple haired faggots, brave and stunning
                                                          1/12/2021 10:01:54 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/App
Group/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B04303 (Size: 873086976 bytes)



                                                                From: 573782641 Rufio Panman (owner)

                                                                Ok so let’s let the government take our lives away and do nothing...stunning and
                                                                brave
                                                                                                                                             1/12/2021 10:02:41 PM(UTC+0)


                                                              Source Info:
                                                              e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-
                                                              47D7-84D1-511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x30B0479A (Size: 873086976
                                                              bytes)



  From: 745775515 Ben Hagen Cloutmaster

  U going fight the us military?
                                               1/12/2021 10:03:25 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B0193C (Size: 873086976 bytes)



  Unknown
  Status: Unsent

                                               1/12/2021 10:03:40 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B04566 (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster

  A protest isn’t going solve this tough guy
                                                 1/12/2021 10:03:48 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Sha
red/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B0448F (Size: 873086976 bytes)



                                                        From: 573782641 Rufio Panman (owner)

                                                        You guys respond to the media. Like you have been for 4 years and I’ll keep getting results
                                                        on the ground
                                                                                                                                             1/12/2021 10:04:08 PM(UTC+0)


                                                     Source Info:
                                                     e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
                                                     511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x30AB3E8C (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster

  I have
                                               1/12/2021 10:04:26 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B0188F (Size: 873086976 bytes)




                                                                                                                                                                                      359
                         Case 1:21-cr-00175-TJK Document 857-3 Filed 08/17/23 Page 3 of 7
  From: 745775515 Ben Hagen Cloutmaster

  Punching fags and dikes
                                               1/12/2021 10:04:43 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B01E82 (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster

  Lol
                                               1/12/2021 10:04:47 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B2D277 (Size: 873086976 bytes)



                                                                                            From: 573782641 Rufio Panman (owner)

                                                                                            What results? Lol
                                                                                                                                         1/12/2021 10:05:00 PM(UTC+0)


                                                                                          Source Info:
                                                                                          e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
                                                                                          hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                          8138281883108468013/postbox/db/db_sqlite : 0x30B2DA5F (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:05:18 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B2EC5D (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster

  U beat up fags dude
                                               1/12/2021 10:05:44 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B10E91 (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster

  U think very highly of yourself
                                               1/12/2021 10:06:01 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B2D101 (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster

  I built my chapter no help from u
                                               1/12/2021 10:06:13 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30AB8420 (Size: 873086976 bytes)
                                                                                                                                                                                    360
                         Case 1:21-cr-00175-TJK Document 857-3 Filed 08/17/23 Page 4 of 7
  From: 745775515 Ben Hagen Cloutmaster

  My guys don’t even know who the fuck u are
                                                 1/12/2021 10:06:27 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Sha
red/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30AB84E8 (Size: 873086976 bytes)



  From: 548375685 Luke

  We can fucking talk about this without throwing attacks at eachother who disagree.

  I disagree with @REBELRUFIO on this. But i'm never going to attack him for disagreeing.
  Let's cut that shit out.
                                                                                            1/12/2021 10:07:08 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x30AB8ACB (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster

  Rufio, noble beard, and Enrique will save us all
                                                        1/12/2021 10:07:33 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/Ap
pGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B325F0 (Size: 873086976 bytes)



  Unknown
  Status: Unsent

                                               1/12/2021 10:08:26 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B101FE (Size: 873086976 bytes)



                                                      From: 573782641 Rufio Panman (owner)

                                                      They’re coming for you no matter what you fags. Wake the hell up. I’m not gunna be sitting
                                                      on my ass waiting for the end
                                                                                                                                             1/12/2021 10:08:49 PM(UTC+0)


                                                    Source Info:
                                                    e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
                                                    511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x30AD26CB (Size: 873086976 bytes)



  Unknown
  Status: Unsent

                                               1/12/2021 10:09:15 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B10F4B (Size: 873086976 bytes)




                                                                                                                                                                                     361
                         Case 1:21-cr-00175-TJK Document 857-3 Filed 08/17/23 Page 5 of 7
  From: 745775515 Ben Hagen Cloutmaster
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:09:39 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B1E114 (Size: 873086976 bytes)



  From: 623991085 George “GhoulGang” Nada
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:09:40 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B1EA97 (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:10:19 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30AB97CF (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster

  Got drugs
                                               1/12/2021 10:11:40 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B2D1C7 (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:12:08 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30AB95E9 (Size: 873086976 bytes)
                                                                                            362
                         Case 1:21-cr-00175-TJK Document 857-3 Filed 08/17/23 Page 6 of 7
  From: 623991085 George “GhoulGang” Nada
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:12:45 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B2DD06 (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:12:50 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B2DB1C (Size: 873086976 bytes)



  From: 779259767 WharGoul the White Orc
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:13:12 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B103FF (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:13:19 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B10B02 (Size: 873086976 bytes)



  Unknown
  Status: Unsent

                                               1/12/2021 10:13:39 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30AB87C7 (Size: 873086976 bytes)

                                                                                            363
                         Case 1:21-cr-00175-TJK Document 857-3 Filed 08/17/23 Page 7 of 7
  From: 745775515 Ben Hagen Cloutmaster
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:14:23 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30AB816A (Size: 873086976 bytes)



                                                      From: 573782641 Rufio Panman (owner)

                                                      I’m gunna press on with some smart level headed non emotional guys and create a game
                                                      plan for how to approach this year, we aren’t gunna stop getting involved in the community,
                                                      especially with the momentum we have and if your worried about getting arrested and think
                                                      that doing nothing will remove that threat you’re fooling yourselves. I’ve had this
                                                      conversation with guys like this for 3 years and every year you all get worked up and wanna
                                                      hide. We can be smarter, train, plan etc...but we will never stop. Get on board or move
                                                      aside.
                                                                                                                                             1/12/2021 10:14:27 PM(UTC+0)


                                                    Source Info:
                                                    e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
                                                    511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x22E0481E (Size: 873086976 bytes)



  Unknown

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  Status: Unsent

                                                                1/12/2021 10:14:35 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/2
37A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B10CEC (Size: 873086976 bytes)



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                                               1/12/2021 10:14:46 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30AB9A79 (Size: 873086976 bytes)



  Unknown

                                               1/12/2021 10:14:55 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B2E970 (Size: 873086976 bytes)



  From: 745775515 Ben Hagen Cloutmaster
  Attachments:




   Size: 0
   (Empty File)

                                               1/12/2021 10:15:39 PM(UTC+0)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x30B2D507 (Size: 873086976 bytes)

                                                                                                                                                                                     364
